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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA



       Austin Glick



               Plaintiff                            JUDGMENT IN A CIVIL CASE
       v
                                                    CASE NUMBER: 4:17-cv-00291
       Western Power Sports, Inc
       doing business as
       Fly Racing

               Defendant

        JURY VERDICT . This action came before the Court for trial by jury. The issues have been
tried and the jury has rendered its verdict.

       DECISION BY COURT. This action came before the Court. The issues have been
considered and a decision has been rendered.


IT IS ORDERED AND ADJUDGED:
that Western Power Sports’s Motion to Dismiss for Failure to State a Claim, [ECF No. 21], is
GRANTED, and Glick’s Motion for Entry of Default, [ECF No. 23], is DENIED.




Date: September 7, 2018                             CLERK, U.S. DISTRICT COURT


                                                    /s./ K. Chrismer
                                                    ______________________________
                                                    By: Deputy Clerk
